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                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                v.
                                                                No. 1:21-cr-175 (TJK)
DOMINIC PEZZOLA,

                        Defendant.



 DEFENDANT PEZZOLA’S JOINDER WITH REHL’S MOTION TO INSPECT AND
          EXAMINE THE RELEVANT CELL PHONE DEVICES


Dominic Pezzola, by his undersigned counsel, respectfully joins codefendant Rehl’s oral motions made

on Feb.6 (and extended at other times and dates by Rehl’s counsel Ms. Hernandez) to personally

inspect and examine certain cell phone devices at issue in this case.

        Ms. Hernandez (on behalf of Rehl) has proffered that experts she has consulted have indicated

some of the Telegram chat displays being offered in slides by the government are mis-representing

the true nature and circumstances of the chats in question. Counsel for codefendant Tarrio have also

raised the same point.       Moreover, codefendant Tarrio’s counsel, on cross-examination of

government’s witness Cain, has brought out the fact that the Telegram displays used by the

government in this case may not reflect the actual chats as experienced and seen by users such as Rehl,

Tarrio, and others.
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       Defendant Pezzola is not particularly tech savvy. (Nor are his counselors.) However we

request, upon the most basic rules of evidence, that the phones allegedly linked to or belonging to co-

defendants be brought into court and made available for co-defendants to open and inspect.



Dated: February 8, 2023,

                                                                      Respectfully Submitted,
                                                                      /s/Roger I. Roots, esq.
                                                                      Roger I. Roots
                                                                      21550 Oxnard Street
                                                                      3rd Floor PMB #172
                                                                      Woodland Hills, CA 91367
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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on February 8, 2023, this motion and the accompany declaration was

filed via the Court’s electronic filing system, which constitutes service upon all counsel of record.

                                                /s/ Roger I. Roots
                                                Roger I. Roots
